     Case 3:17-cv-00072-NKM-JCH Document 1227 Filed 10/14/21 Page 1 of 2 Pageid#: 20648
AO435                      ADMINISTRATIVEOFFICEOFTHEUNITEDSTATESCOURTS                  FORCOURTUSEONLY
(Rev.04/18;WDVARev.ͳͳ/19)
                                                                                                       DUEDATE:
                                             TRANSCRIPTORDERFORM
PleaseReadInstructionsonPage2.
1. REQUESTOR’S                 NAME                                                  TELEPHONENUMBER
   INFORMATION:                                                                        
                                    0LFKDHO%ORFK
DATEOFREQUEST                    EMAILADDRESS(Transcriptwillbeemailedtothisaddress.)
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MAILINGADDRESS                                                                      CITY,STATE,ZIPCODE
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2. TRANSCRIPT                       NAMEOFCOURTREPORTER
                                                                 /LVD%ODLU
   REQUESTED:

                                    ORCHECKHERE     IFHEARINGWASRECORDEDBYFTR

CASENUMBER                        CASENAME                                        JUDGE’SNAME
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DATE(S)OF                         TYPEOFPROCEEDING(S)                            LOCATIONOFPROCEEDING
PROCEEDING(S)

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REQUESTISFOR:(Selectone)     ✔   FULLPROCEEDING      OR       SPECIFICPORTION(S)(Mustspecifybelow)

SPECIFICPORTION(S)REQUESTED(Ifapplicable):



3. SERVICETURNAROUNDCATEGORYREQUESTED:
   (SeePage2fordescriptionsofeachserviceturnaroundcategory.)
   Ordinary(30ǦDay)                                       ✔ Daily                                7KUHH5HDO7LPH
                                                                                                          IHHGVLQ
   14ǦDay                                                        Hourly                            FRXUWURRPGDLO\
                                                                                                          GHOLYHU\RI
   Expedited(7ǦDay)                                         ✔ RealTime                            WUDQVFULSWV
   3ǦDay

4. CERTIFICATION:Bysigningbelow,IcertifythatIwillpayallcharges(depositplusadditional).
DATE                         SIGNATURE
                           0LFKDHO%ORFK


          Ifyouhaveanyquestions,pleasecontactthecourtreportercoordinatorat(540)857Ǧ5152
          orbyemailtoCRC@vawd.uscourts.gov.

          TranscriptFeeRatescanbefoundonourwebsiteunderStandingOrdersat:
          http://www.vawd.uscourts.gov/media/1576/transcripts2018Ǧ3.pdf

          NOTE:FormmustbeflattenedpriortoelectronicallyfilinginCM/ECFsothatallfillablefieldscan
          nolongerbemodified.
    Case 3:17-cv-00072-NKM-JCH Document 1227 Filed 10/14/21 Page 2 of 2 Pageid#: 20649
                                                  GENERAL INSTRUCTIONS

Use. Use this form to order the transcription of proceedings. COMPLETE A SEPARATE ORDER FORM FOR EACH
CASE NUMBER AND FOR EACH COURT REPORTER FOR WHICH TRANSCRIPTS ARE ORDERED.

        CJA Counsel. CJA Counsel must complete an Auth‐24 in eVoucher to obtain approval for the transcript.

        Appeal. If case is on appeal, visit http://www.ca4.uscourts.gov for transcript instructions. The transcript will
        need to be ordered through the United States Court of Appeals using their order form.

Submitting to the Court.

        Attorney – e‐File order to the appropriate case in CM/ECF.

        Private Party – Send order to Clerk’s Office, U.S. District Court, 210 Franklin Road S.W. Suite 540, Roanoke,
        VA 24011.

Deposit Fee. The Court Reporter will notify you of the amount of the required deposit fee which may be mailed or
delivered to the address provided to you by the court reporter. Upon receipt of the deposit, the court reporter will
process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or, for transcripts ordered by
the federal government, from the date of receipt of electronic notification.

Completion of Order. The court reporter will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court reporter will notify you of the balance
due, which must be paid prior to receiving the completed order.

                                                  SPECIFIC INSTRUCTIONS

All Sections (1 – 4) must be completed in full.

Section 3. Service Category Requested.

Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order.

14‐Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.

Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.

3‐Day. A transcript to be delivered within three (3) calendar days after receipt of an order.

Daily. A transcript to be delivered on the calendar day following receipt of the order (regardless of whether that
calendar day is a weekend or holiday), prior to the normal opening hour of the clerk’s office.

Hourly. A transcript of proceedings to be delivered within two (2) hours from receipt of the order.

RealTime. A draft, unedited transcript produced by a certified realtime reporter as a byproduct of realtime to be
delivered electronically during proceedings or immediately following receipt of the order. A realtime “feed” is the
electronic data flow from the court reporter to the computer of each person or party ordering and receiving the
realtime transcription in the courtroom. **Requires prearrangement for services.
